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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION


    In re:
                                                                     Chapter 7

    LECLAIRRYAN PLLC,                                                Case No. 19-34574 (KRH)


    Debtor.1


    FIRST INTERIM APPLICATION OF HUNTON ANDREWS KURTH LLP, SPECIAL
       COUNSEL FOR TRUSTEE, FOR ALLOWANCE OF COMPENSATION AND
                  REIMBURSEMENT OF EXPENSES INCURRED

         Hunton Andrews Kurth (“Hunton”), special counsel for Lynn L. Tavenner, Chapter 7

 Trustee (the “Trustee”) for the bankruptcy estate of LcClairRyan PLLC (the “Debtor”), submits

 this interim application (the “Application”) for interim allowance of compensation for

 professional services rendered by Hunton to the Trustee during the period of November 1, 2019,

 through January 31, 2020 (the “First Application Period”), under sections 330 and 331 of title 11

 of the United States Code (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1 of the United States Bankruptcy

 Court for the Eastern District of Virginia Local Bankruptcy Rules (the “Local Rules”). In

 support of this Application, Hunton represents as follows:



         1
                  The last four digits of the Debtor’s federal tax identification number are 2451.

 HUNTON ANDREWS KURTH LLP
 Riverfront Plaza, East Tower
 951 East Byrd Street
 Richmond, Virginia 23219
 Telephone: (804) 788-8200
 Facsimile: (804) 788-8218
 Tyler P. Brown (VSB No. 28072)
 Jason W. Harbour (VSB No. 68220)
 Henry P. (Toby) Long, III (VSB No. 75134)

 Special Counsel to the Trustee
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                  I. JURISDICTION, VENUE AND PREDICATES FOR RELIEF

        1.      This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue in this

 district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

        3.      The predicates for the relief requested herein are section 327(e) of the Bankruptcy

 Code, Bankruptcy Rules 2014 and 2016, and Local Rules 2014-1 and 2016-1.

                                          II. BACKGROUND

        4.      On September 3, 2019 (the “Petition Date”), the Debtor filed with the Court a

 voluntary petition for relief under Chapter 11 of Title 11 of the Bankruptcy Code, commencing

 the above-captioned Chapter 11 case.

        5.      On October 4, 2019, this Court entered the Order of Conversion of Chapter 11 to

 Chapter 7 (Docket No. 140), converting the Debtor’s case to a case under Chapter 7 of the

 Bankruptcy Code. Upon conversion, the Trustee was appointed interim trustee, and no other

 trustee having been elected at the meeting of creditors, she continues to serve as Trustee.

        6.      On November 1, 2019, the Trustee engaged Hunton as special counsel to

 represent the Trustee in this bankruptcy case in certain matters other than in the general

 administration of the case. On December 20, 2019, the Court entered its Order Authorizing the

 Employment and Retention of Hunton Andrews Kurth LLP as Special Counsel for the Trustee

 [D.I. 311], effective as of November 1, 2019.

                                     III. RELIEF REQUESTED

        7.      Hunton submits this Application (a) for interim allowance of reasonable

 compensation for the actual, reasonable and necessary professional services that it has rendered

 as special counsel for the Trustee in this case for the First Application Period in the amount of

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 $81,121.00, and (b) for reimbursement of actual, reasonable and necessary expenses incurred in

 representing the Trustee during the First Application Period in the amount of $0.00.

        8.      A summary schedule of the time expended by all Hunton professionals and

 paraprofessionals engaged in the representation of the Trustee during the First Application

 Period is attached hereto as Exhibit A. A summary schedule of hours and fees covered during

 the First Application Period, categorized by project code is attached hereto as Exhibit B.

        9.      During the First Application Period, Hunton provided the following services to,

 and as requested by, the Trustee: (i) advising the Trustee in connection with the termination of

 the Debtor’s 401(k) benefit plan and distribution of certain related plan funds; and (ii) advising

 the Trustee with respect to certain benefits regulations. In performing the services detailed in

 this Application, Hunton has endeavored to ensure that its professionals comply with the

 applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any

 other applicable procedures or orders of the Court.

        10.     Hunton has made no prior request for payment of professional fees in its capacity

 as special counsel to the Trustee. Hunton has received no payments for professional fees or

 expenses incurred during the First Application Period. While the estate does not currently have

 funds to pay Hunton’s fees incurred to date, funds are available to pay a portion of Hunton’s fees

 from forfeiture and expense account funds held by the 401(k) account that are not property of the

 estate and that may be used for the expenses in accordance with the terms of the 401(k) plan.

        11.     In accordance with Bankruptcy Rule 2016 and Local Bankruptcy Rule 2016-1, a

 detailed chronological itemization of the services rendered by each professional and

 paraprofessional, calculated by tenths of an hour and categorized in accordance with the




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 appropriate project code and a detailed chronological itemization of the expenses incurred by

 Hunton during the First Application Period are attached hereto as Exhibit C.

           12.     Hunton has endeavored to represent the Trustee in the most expeditious and

 economical manner possible. Tasks have been assigned to attorneys and paralegals at Hunton so

 that the work has been performed by those most familiar with the particular matter or task and,

 where attorney involvement was required, by the lowest hourly rate professional appropriate for

 a particular matter.       Moreover, Hunton has endeavored to coordinate with any other

 professionals involved in this case so as to minimize any duplication of effort and to minimize

 attorneys’ fees and expenses to the Trustee. Hunton believes it has been successful in this

 regard.

           13.     No agreement or understanding exists between Hunton and any other person for

 the sharing of compensation received or to be received for services rendered in or in connection

 with this case.

        IV. REQUEST FOR LIMITED WAIVER OF BANKRUPTCY RULE 2002(A)(6)

           14.     Pursuant to Bankruptcy Rule 2002(a)(6) and Local Bankruptcy Rule 2002-1(A),

 the proponent of an application for compensation or reimbursement of expenses in excess of

 $1,000 is required to give notice of the hearing on the application (“Notice”) to the debtor, the

 trustee, and all creditors, except as stated by order of the Court.

           15.     The creditor mailing matrix provided by the Court lists over 30,200 potential

 creditors in this case. Hunton submits that providing Notice and/or a copy of the Application via

 mail to all such parties would impose an extraordinary burden on the estate, with the cost of

 postage running into the many thousands of dollars. Thus, Hunton respectfully requests that the

 Court grant Hunton a limited waiver of Rule 2002(a)(6) and Local Rule 2002-1(A) by

 authorizing Hunton to serve Notice and a copy of this Application electronically and/or by first-

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 class mail to: (i) the office of the U.S. Trustee pursuant to Local Rule 2002-1(C), (ii) on the Core

 Parties and 2002 List as defined in the Order Establishing Certain Notice, Case Management

 and Administrative Procedures [Ecf. No. 38], and (iii) to serve Notice only via first class mail,

 postage prepaid, on all parties who have filed a notice of appearance in this case and provided a

 mailing address, but do not receive service electronically, with an opportunity for such mailing

 recipients to request a full copy of the Application. Hunton submits that the proposed method of

 serving Notice is appropriately tailored to reach those parties who have expressed interest in this

 case, while properly balancing the costs to the estate.

        WHEREFORE, Hunton respectfully requests that this Court enter an Order,

 substantially in the form attached hereto (i) approving this Application, (ii) providing that

 Hunton be allowed on an interim basis the sum of $81,121.00 as compensation for reasonable

 and necessary professional services rendered to the Trustee, (iii) authorizing Hunton to be paid

 up to $70,040.70 of such compensation from funds available for such purposes in the Debtor’s

 401(k) account in the amounts agreed upon with the Trustee, and for any remaining sums to paid

 by the estate when the Trustee determines such funds are available, and (iv) for such other relief

 as the Court deems proper and just.


 Date: March 2, 2020
                                                /s/ Tyler P. Brown
                                               Tyler P. Brown (VSB No. 28072)
                                               Jason W. Harbour (VSB No. 68220)
                                               Henry P. (Toby) Long, III (VSB No. 75134)
                                               HUNTON ANDREWS KURTH LLP
                                               Riverfront Plaza, East Tower
                                               951 East Byrd Street
                                               Richmond, Virginia 23219
                                               Telephone: (804) 788-8200
                                               Facsimile: (804) 788-8218

                                               Special Counsel for Trustee


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                                     CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of March, 2020, a true copy of the foregoing

 Application was served on all parties receiving notices via CM/ECF and a true copy of the

 Notice of the foregoing Application was served by first class mail on the attached Service List.


                                                      /s/ Tyler P. Brown
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                                SERVICE LIST
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Name 1                        Name 2                              Address                             City           State        Zip
Matrix One Riverfront Plaza
                                                                  CN 4000 Forsgate Drive
LLC                                                                                                   Cranbury       NJ         08512
Super‐Server, LLC                                                 707 East Main Street, Suite 1425    Richmond       Virginia   23219
GLC Business Services, Inc.                                       28 Prince Street                    Rochester      NY         14607
                                                                                                                                48267‐
Thomson Reuters Master Data Center                                P.O. Box 673451
                                                                                                      Detroit        MI          3451
Carlyle Overlook JV, LLC                                          711 High Street                     Des Moines     IA         50392
BCa1, LLC c/o Beacon Capital Partners                             200 State Street, 5th Floor         Boston         MA         02109
Parmenter Realty Fund III,
                                                                  701 Brickell Avenue, Suite 2020
Inc.                                                                                                  Miami          FL          33131
                                                                                                                                 10022‐
Latham & Watkins LLP                                              885 Third Avenue
                                                                                                      New York       NY           4834
60 State TRS (DE) LLC                                             320 Park Avenue, Floor 17           New York       NY          10022
ConvergeOne, Inc.                                                 3344 Highway 149                    Eagan          MN          55121
                                                                                                                                 WC1N
                                                                                                                                   2BF
Page White Farrer Limited                                         Bedford House, 21 John Street
                                                                                                                                 United
                                                                                                      Holborn        London     Kingdom
                                                                                                                                 60197‐
Thomson West‐6292                                                 P.O. Box 629
                                                                                                      Carol Stream   IL           6292
Post Oak Realty Investment Partners, LP                           13355 Noel Road, 22nd Floor         Dallas         TX          75240
Poe & Cronk Real Estate Group, Inc.                               10 S Jefferson Street, Suite 1200   Roanoke        VA          24011
                                                                  BLDG ID: 26870                                                78720‐
BPP Lower Office REIT Inc.    BPP Connecticut Ave LLC —
                                                                  P.O. Box 209259                     Austin         TX          9259
                                                                                                                                90084‐
EYP Realty LLC                                                    P.O. Box 844801
                                                                                                      Los Angeles    CA          4801
New Boston Long Wharf,       c/o The Corporation Trust Company,
                                                                  1209 Orange Street
LLC                          r/a                                                                      Wilmington     DE          19801
Iron Mountain Records Management                                  448 Broadway                        Ulster Park    NY          12487
NetRight Intermediate LLC    iManage LLC                          540 W. Madison Street, Suite 2400   Chicago        IL          60661
Integreon Managed Solutions (ND) Inc.                             3247 47th Street South              Fargo          ND          58104
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Name 1                        Name 2                                Address                               City           State        Zip
                                                                                                                                    23219‐
Robert B. Van Arsdale, Esq.   Office of the United States Trustee   701 East Broad Street, Suite 4304
                                                                                                          Richmond       Virginia    1885
Tyler P. Brown                Hunton Andrews Kurth LLP              951 East Byrd Street                  Richmond       VA         23219
Jason William Harbour         Hunton Andrews Kurth LLP              951 East Byrd Street                  Richmond       VA         23219
Henry Pollard Long, III       Hunton Andrews Kurth LLP              951 East Byrd Street                  Richmond       VA         23219
Jennifer Ellen Wuebker        Hunton Andrews Kurth LLP              951 East Byrd Street                  Richmond       VA         23219
                                                                    Gateway Plaza
Douglas M. Foley              MCGUIREWOODS LLP
                                                                    800 East Canal Street                 Richmond       Virginia   23219
                                                                    Gateway Plaza
Sarah B. Boehm                MCGUIREWOODS LLP
                                                                    800 East Canal Street                 Richmond       Virginia   23219
                                                                    Gateway Plaza
Shawn R. Fox                  MCGUIREWOODS LLP
                                                                    800 East Canal Street                 Richmond       Virginia   23219
ULX Partners, LLC                                                   100 Broadway, 22nd Floor              New York       NY          1005
Karen M. Crowley, Esq.        Crowley Liberatore P.C.               150 Boush Street, Suite 300           Norfolk        VA         23510
Michael G. Gallerizzo, Esq.   GEBHARDT & SMITH LLP                  One South Street, Suite 2200          Baltimore      MD         21202
Michael D. Nord, Esq.         GEBHARDT & SMITH LLP                  One South Street, Suite 2200          Baltimore      MD         21202
Amy Simon Klug                HOLLAND & KNIGHT LLP                  1650 Tysons Boulevard, Suite 1700     Tysons         VA         22102
Maria Ellena Chavez‐Ruark,
Esq.                          SAUL EWING ARNSTEIN & LEHR LLP        500 East Pratt Street, 9th Floor      Baltimore      MD         21202
David G. Barger               Greenberg Traurig, LLP                1750 Tysons Boulevard, Suite 1000     McLean         VA         22102
Thomas J. McKee, Jr.          Greenberg Traurig, LLP                1750 Tysons Boulevard, Suite 1000     McLean         VA         22102
Jennifer J. West, Esq.        SPOTTS FAIN PC                        411 East Franklin Street, Suite 600   Richmond       VA         23219
Michael G. Wilson, Esq.       MICHAEL WILSON PLC                    PO Box 6330                           Glen Allen     VA         23058
                                                                    Four Greentree Centre
Nicola G. Suglia, Esq.        Fleischer, Fleischer & Suglia, P.C.   601 Route 73 N., Suite 305            Marlton        NJ         08053

                              c/o Kevin J. Funk
Bank Direct Capital Finance   Durrette Arkema Gerson & Gill PC      1111 East Main Street, 16th Floor     Richmond       VA         23219
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Name 1                       Name 2                                Address                               City             State    Zip
                             c/o John P. Dillman
                             Linebarger Goggan Blair & Sampson,                                                                   77253‐
Harris County                LLP                                   PO Box 3064                           Houston          TX       3064
Kenneth N. Whitehurst, III   Office of the United States Trustee   701 East Broad Street, Suite 4304     Richmond         VA      23219

                             c/o Kevin J. Funk
Parma Richmond, LLC          Durrette Arkema Gerson & Gill PC      1111 East Main Street, 16th Floor     Richmond         VA      23219
                             Iron Mountain Information Mgmt,
Joseph Corrigan              LLC                                   One Federal Street                    Boston           MA      02110
                                                                   1919 Pennsylvania Avenue, N.W.,                                20006‐
Robert C. Gill, Esq.         SAUL EWING ARNSTEIN & LEHR LLP        Suite 550                             Washington       D.C.     3434
Mary Joanne Dowd, Esq.       Arent Fox LLP                         1717 K Street, NW                     Washington       D.C.    20006
Jackson D. Toof, Esq.        Arent Fox LLP                         1717 K Street, NW                     Washington       D.C.    20006
Neil E. McCullagh, Esq.      SPOTTS FAIN PC                        411 East Franklin Street, Suite 600   Richmond         VA      23219
Cynthia L. Hegarty           MORRISON SUND, PLLC                   5125 County Road 101, Suite 200       Minnetonka       MN      55345
Joshua D. Stiff, Esq.        WOLCOTT RIVERS GATES                  200 Bendix Road, Suite 300            Virginia Beach   VA      23452
Grayson T. Orsini, Esq.      WOLCOTT RIVERS GATES                  200 Bendix Road, Suite 300            Virginia Beach   VA      23452




                             Commonwealth of Pennsylvania
                             Department of Labor and Industry
Amy Wiekel                   Collections Support Unit              651 Boas Street, Room 925             Harrisburg       PA      17121
                             c/o Robert T. Hall
Latonya Mallory              Hall & Sethi, P.L.C.                  11260 Roger Bacon Drive, Suite 400    Reston           VA      20190
David R. Ruby, Esq.          ThompsonMcMullan, P.C.                100 Shockoe Slip, Third Floor         Richmond         VA      23219
William D. Prince IV, Esq.   ThompsonMcMullan, P.C.                100 Shockoe Slip, Third Floor         Richmond         VA      23219
                                                                                                                                  23230‐
JM Partners, LLC             Attn: John Marshall                   6800 Paragon Place, Suite 202         Richmond         VA       1656
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Name 1                         Name 2                            Address                               City           State     Zip
                                                                                                                              02110‐
Peter D. Bilowz, Esq.          GOULSTON & STORRS PC              400 Atlantic Avenue                   Boston         MA       3333
                                                                                                                              02110‐
Douglas B. Rosner, Esq.        GOULSTON & STORRS PC              400 Atlantic Avenue                   Boston         MA       3333
Robert H. Chappell III, Esq.   SPOTTS FAIN PC                    411 East Franklin Street, Suite 600   Richmond       VA      23219
Karl A. Moses, Jr., Esq.       SPOTTS FAIN PC                    411 East Franklin Street, Suite 600   Richmond       VA      23219
Shawn C. Whittaker, Esq.       Whittaker/Myers, PC               1010 Rockville Pike, Suite 607        Rockville      MD      20852
                                                                 1001 Pennsylvania Ave NW, STE 1300
Alexander R. Green, Esq.       CLARK HILL, PLC                   S                                     Washington     D.C.    20004
                               c/o Ronald A. Page, Jr.                                                 N.
Linda Georgiadis               Ronald Page, PLC                  P.O. Box 73524                        Chesterfield   VA      23235
                               c/o Paula S. Beran, Esq.
Lynn L. Tavenner, Trustee      Tavenner & Beran, PLC             20 N. 8th Street, 2nd Floor           Richmond       VA      23219
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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             RICHMOND DIVISION


 In re:
                                                                Chapter 7

 LECLAIRRYAN PLLC,                                              Case No. 19-34574 (KRH)


 Debtor.1


     ORDER GRANTING FIRST INTERIM APPLICATION OF HUNTON ANDREWS
      KURTH LLP, SPECIAL COUNSEL FOR TRUSTEE, FOR ALLOWANCE OF
       COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED

          Upon consideration of the First Interim Application (the “Application”) of Hunton

 Andrews Kurth LLP (“Hunton”), special counsel for Lynn L. Tavenner, Chapter 7 Trustee (the

 “Trustee”) for the bankruptcy estate of LeClairRyan PLLC (the “Debtor”) for the period from

 November 1, 2019, through January 31, 2020 (the “First Application Period”); and the Court

 having reviewed the Application, and finding that the Court has jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157 and 1334, and determining that proper and adequate notice has

 been given and that no other or further notice is necessary; and after due deliberation thereon;

 and good and sufficient cause appearing therefore,

                IT IS HEREBY ORDERED that:

          1.    The Application is GRANTED.

          2.    Hunton is allowed interim compensation and reimbursement of expenses for the

 Application Period in the amounts set forth in the Application.

          3.    Hunton is awarded fees in the amount of $81,121.00 as requested in the


          1
                The last four digits of the Debtor’s federal tax identification number are 2451.


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 Application, on an interim basis, and the Trustee is authorized to allow Hunton to be paid up to

 $70,040.70 of such fees from the Debtor’s 401(k) account, with any remaining unpaid fees to be

 payable by the estate when the Trustee determines funds are available to make such payments.

        4.      The Trustee is authorized and empowered to take such actions as may be

 necessary and appropriate to implement the terms of this Order.

        5.      Hunton is granted a limited waiver of Bankruptcy Rule 2002(a)(6) and Local Rule

 2002-1 to serve a full copy of the Application as proposed therein.

        6.      This Court shall retain jurisdiction with respect to all matters relating to the

 interpretation or implementation of this Order.

        7.      This Order shall be effective immediately upon entry.



 Dated: _________________, 2020
                                              __________________________________________
                                                UNITED STATES BANKRUPTCY JUDGE


 WE ASK FOR THIS:

 HUNTON ANDREWS KURTH LLP

  /s/ Tyler P. Brown
 Tyler P. Brown (VSB No. 28072)
 Jason W. Harbour (VSB No. 68220)
 Henry P. (Toby) Long, III (VSB No. 75134)
 HUNTON ANDREWS KURTH LLP
 Riverfront Plaza, East Tower
 951 East Byrd Street
 Richmond, Virginia 23219
 Telephone: (804) 788-8200
 Facsimile: (804) 788-8218

 Special Counsel for the Trustee




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                         LOCAL RULE 9022-1 CERTIFICATION


        I, Tyler P. Brown, hereby certify that the foregoing proposed order was served on all
 necessary parties.

                                                         /s/ Tyler P. Brown




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                                EXHIBIT A
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  Summary Schedule of all time expended by Hunton professionals and paraprofessionals
                                First Application Period
                          (From 11/1/2019 through 1/31/2020)

    Professional Name       Position of the Applicant and      Hourly    Hours     Value
                                  Area of Expertise         Billing Rate
                                                             (including
                                                              changes)
 Brown, Tyler P            Partner/Bankruptcy                    $883.00 10.00    $8,830.00
 Ritter, II, John G        Partner/Tax & Erisa                   $903.00 2.00     $1,806.00
 Agostinho, Jessica N      Partner/Tax & Erisa                   $736.00 1.20       $883.20
 Alexander, Michael W      Associate/Tax & Erisa                 $622.00 110.40 $68,668.80
 Long, III, Henry P        Associate/Bankruptcy                  $622.00 1.50       $933.00
                             Grand Total                                 125.10 $81,121.00
 BLENDED RATE:                                                             $648.45 per hour
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                                EXHIBIT B
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            Summary Schedule of hours and fees categorized by project code
                             First Application Period
                       (From 11/1/2019 through 1/31/2020)

  Project                     Description                     Hours          Value
   Code
   160      Fee/Employment Applications                        2.40           $1,936.50
   220      Labor Agreements/Pensions/Benefits                12.80           $8,646.20
   221      401(k) Administration                             109.10         $70,040.70
   310      Claims Administration and Objections               0.80             $497.60
                       Grand Total                            125.10         $81,121.00
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                                EXHIBIT C
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                           Detailed Chronological Itemization of Services
                                     First Application Period
                                (From 11/1/2019 through 1/31/2020)

                              FEE / EMPLOYMENT APPLICATIONS

 DATE         TIMEKEEPER            TASK     DESCRIPTION                       HOURS     VALUE
 11/05/2019   T P BROWN             160      Work on draft retention            0.50     441.50
                                             application
 11/27/2019   T P BROWN             160      Work on retention application      0.80     706.40
                                             and related conference with
                                             T.Long
 12/02/2019   T P BROWN             160      Revise proposed retention          0.30     264.90
                                             application and forward to
                                             L.Tavenner and P.Beran to
                                             review
 12/06/2019   T P BROWN             160      Revise retention application       0.10      88.30
                                             and related emails with
                                             Tavenner & Beran and T.Long
 12/06/2019   H P LONG, III         160      Analyze, finalize and              0.70     435.40
                                             coordinate filing of Hunton's
                                             special counsel application
                                             (,50), and communications
                                             with T. Brown (.10) and P.
                                             Beran (.10) concerning the
                                             same
                                             TOTAL 160                          2.40



                        LABOR AGREEMENTS/PENSIONS/BENEFITS

 DATE         TIMEKEEPER            TASK     DESCRIPTION                       HOURS     VALUE
 11/05/2019   T P BROWN             220      Emails and conference with         0.80     706.40
                                             M.Alexander
 11/05/2019   M W ALEXANDER         220      Review background emails           1.30     808.60
                                             from LeClairRyan, United
                                             Lex, and L. Tavenner
                                             regarding benefits issues (.3);
                                             telephone conference with T.
                                             Brown regarding project to
                                             wrap up benefit plans and
                                             related issues (.3); begin
                                             reviewing and analyzing latest
                                             benefit plan Forms 5500 (.5);
                                             prepare notes regarding
                                             foregoing (.2)




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                       HOURS     VALUE
 11/06/2019   T P BROWN            220    Telephone call with                0.30     264.90
                                          L.Tavenner and P.Beran re
                                          401(k) plan and other issues
 11/06/2019   M W ALEXANDER        220    Review LeClairRyan files for       0.50     311.00
                                          emails or documents relevant
                                          to benefit plans (.2); review
                                          notice of plan terminations
                                          and other benefit emails (.3)
 11/07/2019   T P BROWN            220    Review emails with                 0.10      88.30
                                          M.Alexander and trustee re
                                          401(k) issues
 11/07/2019   M W ALEXANDER        220    Review initial emails from L.      1.10     684.20
                                          Tavenner regarding project to
                                          wrap up benefit plan (.2);
                                          prepare responses to L.
                                          Tavenner's initial emails (.3);
                                          continue reviewing and
                                          consolidating notes (.3);
                                          research welfare plan notice
                                          issue (.3)
 11/08/2019   J G RITTER, II       220    Conference with Alexander          0.30     270.90
                                          regarding certifying/directing
                                          Fidelity regarding rollovers
 11/13/2019   M W ALEXANDER        220    Telephone conference with J.       0.50     311.00
                                          Agostinho regarding prior
                                          work done for Company
                                          relating to welfare and
                                          retirement plans
 12/02/2019   M W ALEXANDER        220    Telephone conference with          0.30     186.60
                                          DOL agent on no-name basis
                                          regarding 5500
 12/02/2019   T P BROWN            220    Telephone call with                0.60     529.80
                                          L.Tavenner, P.Beran and
                                          M.Alexander re 401(k) issues
 12/02/2019   T P BROWN            220    Review emails from P.Beran         0.20     176.60
                                          re LR payments to audit firm
                                          and related invoices
 12/03/2019   M W ALEXANDER        220    Review and analyze DOL             1.10     684.20
                                          Notice regarding late 401k
                                          5500 (.2); research DOL
                                          voluntary compliance program
                                          procedures and penalties (.5);
                                          prepare email to L. Tavenner
                                          regarding DOL notice and
                                          related issues (.4)




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 12/04/2019   M W ALEXANDER        220    Review notes from conference        1.00     622.00
                                          with L. Smoot of the DOL
                                          (.1); prepare email to DOL
                                          agent Scott Albert regarding
                                          401k Form 5500 (.3); prepare
                                          list of questions to discuss
                                          with DOL (.3); office
                                          conference with J. Ritter
                                          regarding DOL notice (.3)
 12/06/2019   T P BROWN            220    Emails with M.Alexander re          0.10      88.30
                                          call from 401(k) participant
 12/06/2019   M W ALEXANDER        220    Review question from R.             1.70    1,057.40
                                          Nendel-Flores regarding
                                          collections from former LR
                                          clients (.1); request name of
                                          contact for Mr. Nendel-Flores
                                          from L. Tavenner and review
                                          reply from P. Beran (.1);
                                          prepare first draft of letter to
                                          former 401k participants
                                          regarding 2018 excess
                                          deferrals and related issues,
                                          and review related Fidelity
                                          letter and spreadsheet (1.3);
                                          prepare email to R. Ocheltree
                                          regarding draft letter (.2)
 12/08/2019   M W ALEXANDER        220    Review response from R.             1.10     684.20
                                          Ocheltree regarding draft letter
                                          to 401k participants regarding
                                          correction (.1); review and
                                          analyze two spreadsheets sent
                                          by R. Ocheltree relating to
                                          calculations and corrections of
                                          401k excess deferrals during
                                          2018 plan year (.8); prepare
                                          notes and follow-up questions
                                          regarding same (.2)
 12/09/2019   M W ALEXANDER        220    Continue review and analysis        1.00     622.00
                                          of spreadsheets relating to
                                          calculations and corrections of
                                          401k excess deferrals during
                                          2018 plan year (.6); finalize
                                          list of follow-up questions and
                                          send list to R. Ocheltree (.4)
 12/12/2019   T P BROWN            220    Emails to and from                  0.20     176.60
                                          M.Alexander re response to
                                          DOL on audit




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 12/13/2019   M W ALEXANDER        220    Review and analyze R.               0.60     373.20
                                          Ocheltree responses to follow-
                                          up questions regarding
                                          calculations and corrections of
                                          excess 401k deferrals for 2018
                                          (.3); request clarifications
                                          regarding same (.1); review
                                          clarifications from R.
                                          Ocheltree and begin reviewing
                                          related spreadsheet (.2)
                                          TOTAL 220                          12.80


                                  401(K) ADMINISTRATION

 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 11/06/2019   M W ALEXANDER        221    Telephone conference with R.        1.40     870.80
                                          Ocheltree (UnitedLex)
                                          regarding 401k issues
                                          including general background,
                                          open issues, and next steps
                                          (1.3); office conference with J.
                                          Ritter regarding same (.1)
 11/07/2019   M W ALEXANDER        221    Review and analyze Fidelity         0.90     559.80
                                          rollover form and prepare
                                          notes regarding same (.5);
                                          begin reviewing 401k
                                          documents relating to
                                          forfeiture account (.3); review
                                          email from Redacted
                                          regarding unvested account
                                          (.1)
 11/08/2019   M W ALEXANDER        221    Review Fidelity instructions        1.80    1,119.60
                                          regarding plan sponsor
                                          webstation (PSW) (.2); review
                                          account of participant
                                          Redacted relating to forfeiture
                                          issue (.4); telephone
                                          conference with Fidelity
                                          representative J. Soucy
                                          regarding miscellaneous 401k
                                          and PSW issues, including
                                          rollover approvals (.5);
                                          prepare email to L. Tavenner
                                          regarding approval of
                                          rollovers (.4); review and
                                          respond to email from P.
                                          Beran regarding same (.1);
                                          further review Fidelity
                                          rollover form (.2)



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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 11/11/2019   M W ALEXANDER        221    Research 401k QJSA waiver           2.90    1,803.80
                                          and consent rules (1.0);
                                          request copies of 401k
                                          termination notice, special tax
                                          notice, and distribution notice
                                          from R. Ocheltree (.2); initial
                                          review and analysis of the
                                          notices (.6); prepare follow-up
                                          request to R. Ocheltree (.2);
                                          prepare email to L. Tavenner
                                          summarizing issues with 401k
                                          distribution forms (.4); begin
                                          researching 411(d)(3) plan
                                          termination vesting issue (.5)
 11/12/2019   M W ALEXANDER        221    Continue overview of Fidelity       1.90    1,181.80
                                          PSW and miscellaneous
                                          documents and other 401k
                                          plan information (.7); review
                                          and analyze draft letter to
                                          participants regarding
                                          overpayments (.3); further
                                          analyze letter of direction to
                                          Fidelity with step-by-step
                                          directions regarding plan
                                          termination (.5); prepare notes
                                          summarizing foregoing and
                                          open issues (.4)
 11/13/2019   M W ALEXANDER        221    Review and analyze past             3.60    2,239.20
                                          correspondence from Fidelity
                                          transition team (forwarded by
                                          L. Tavenner and J. Soucy)
                                          relating to 401k termination
                                          steps and open issues (1.0);
                                          telephone conference with
                                          Fidelity transition team
                                          regarding plan termination
                                          issues (.9); telephone
                                          conference with 401k
                                          participant Redacted regarding
                                          loan rollover issue (.3); review
                                          email responses from R.
                                          Ocheltree (.1); prepare follow-
                                          up question regarding Wells
                                          Fargo waiver (.1); prepare
                                          email to L. Tavenner
                                          regarding k-1 issue (.1);
                                          review response (.1); update
                                          401k notes regarding
                                          foregoing (1.0)




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 11/13/2019   J N AGOSTINHO        221    Conference with M.                  0.80     588.80
                                          Alexander regarding benefit
                                          plan terminations and related
                                          issues in connection with
                                          LeClair dissolution and
                                          bankruptcy.
 11/14/2019   M W ALEXANDER        221    Telephone conference with L.        4.40    2,736.80
                                          Tavenner and P. Beran
                                          regarding 401k rollover forms
                                          and other termination issues
                                          (.3); prepare email to R.
                                          Ocheltree regarding 401k
                                          auditor (.1); three telephone
                                          conferences with Fidelity
                                          regarding rollover approval
                                          procedures and other issues
                                          (1.1); review and analyze five
                                          rollover request forms (1.2);
                                          review summary of Virginia
                                          notarization rules (.6); approve
                                          two rollover requests in
                                          Fidelity PSW and notify L.
                                          Tavenner regarding same (.2);
                                          telephone conference with two
                                          participants regarding loan
                                          rollover issues (.3); review
                                          completed Fidelity service
                                          requests (.3); telephone
                                          conference with T. Brown
                                          regarding audit and fiduciary
                                          issues (.2); leave voice
                                          message with auditor
                                          regarding 401k plan (.1)
 11/14/2019   T P BROWN            221    Conference with M.Alexander         0.20     176.60
                                          re 401(k) and related issues
 11/15/2019   M W ALEXANDER        221    Telephone conference with M.        1.30     808.60
                                          Boliek regarding plan audit
                                          and related issues (.5); review
                                          and respond to email from R.
                                          Ocheltree regarding Redacted
                                          rollover (.1): telephone
                                          conference with Redacted
                                          regarding same (.2); telephone
                                          conference with Fidelity
                                          testing and compliance
                                          representative (.5)
 11/17/2019   M W ALEXANDER        221    Review plan loan reports            0.20     124.40
                                          posted in PSW




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                      HOURS      VALUE
 11/18/2019   M W ALEXANDER        221    Review rollover election form     0.30     186.60
                                          sent by L. Tavenner (.1);
                                          review form and prepare
                                          response to L. Tavenner (.1);
                                          approve rollover in Fidelity
                                          PSW (.1)
 11/19/2019   J G RITTER, II       221    Conference Alexander              0.20     180.60
                                          regarding forfeitures
 11/19/2019   M W ALEXANDER        221    Review file correspondence        3.50    2,177.00
                                          regarding plan termination
                                          resolutions (.2); review and
                                          analyze resolutions (.3);
                                          telephone conference with
                                          Fidelity transition team
                                          regarding vesting of
                                          participants (.4); review and
                                          analyze PSW spreadsheets
                                          regarding same (.3); office
                                          conference with J. Ritter
                                          regarding vesting issues (.2);
                                          review notes and prepare list
                                          of talking points regarding
                                          plan termination and send to
                                          R. Ocheltree (.5); finalize
                                          review and analysis of 401k
                                          plan and SPD relating to
                                          forfeiture and vesting issues
                                          (.4); prepare email to J.
                                          Agostinho regarding same
                                          (.2); research IRS guidance,
                                          case law, and treatises
                                          regarding vesting of affected
                                          participants upon plan
                                          termination (1.0)




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 11/20/2019   M W ALEXANDER        221    Continue researching and            5.70    3,545.40
                                          analyzing case law and IRS
                                          guidance regarding vesting
                                          upon termination and update
                                          notes regarding same (1.6);
                                          review J. Agostinho reply
                                          regarding vesting and
                                          distribution timing issues (.1);
                                          telephone conference with J.
                                          Agostinho regarding same
                                          (.3); review and respond to
                                          email from L. Tavenner
                                          regarding Redacted and
                                          review Redacted account in
                                          PSW (.4); telephone
                                          conference with Redacted (.1);
                                          office conference with J. Ritter
                                          regarding vesting and related
                                          issues (.3); further review and
                                          analyze PSW spreadsheets
                                          relating to forfeitures (.7);
                                          telephone conference with
                                          Fidelity representative
                                          regarding forced distribution
                                          date (.4); telephone conference
                                          with R. Ocheltree regarding
                                          miscellaneous issues (.6);
                                          review Redacted rollover
                                          request, prepare response to L.
                                          Tavenner, and approve
                                          rollover in PSW (.3);
                                          telephone conference with T.
                                          Brown regarding termination
                                          issues (.7); prepare notes
                                          regarding same (.2)
 11/20/2019   J N AGOSTINHO        221    Conference with M.                  0.40     294.40
                                          Alexander regarding timing
                                          for payout of benefits from
                                          terminated 401(k) plan.
 11/20/2019   T P BROWN            221    Conference with M.Alexander         0.90     794.70
                                          re 401(k) issues and potential
                                          strategy and emails with LR
                                          personnel re proposed call
 11/21/2019   J G RITTER, II       221    Conference with Alexander           0.50     451.50
                                          regarding forfeitures,
                                          directions/advice from
                                          Hermitage




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 11/21/2019   M W ALEXANDER        221    Review notes and                    5.40    3,358.80
                                          correspondence regarding
                                          open issues in preparation for
                                          call with R. Ocheltree (.5);
                                          telephone conference with R.
                                          Ocheltree and update notes
                                          (1.5); request updated
                                          participant reports in PSW
                                          (.1); review and analyze
                                          reports (.3); review rollover
                                          form from Redacted (.2);
                                          telephone conference with
                                          Redacted regarding notary
                                          issue (.2); prepare email to L.
                                          Tavenner regarding same (.1);
                                          review and update notes in
                                          preparation for call with D.
                                          Jones, C. Lange, and T. Brown
                                          regarding plan issues (.5);
                                          telephone conference with D.
                                          Jones, C. Lange, and T. Brown
                                          (.8); review DOL guidance
                                          regarding search for missing
                                          participants (.5); prepare email
                                          to T. Brown regarding timing
                                          of plan termination (.4); begin
                                          preparing draft email to L.
                                          Tavenner regarding same (.3)
 11/21/2019   T P BROWN            221    Conference call with                1.00     883.00
                                          M.Alexander, D.Jones and
                                          C.Lang re 401(k) issues and
                                          prepare for call




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                       HOURS      VALUE
 11/22/2019   M W ALEXANDER        221    Further research and analyze       4.80    2,985.60
                                          DOL guidance regarding plan
                                          termination issues (1.3);
                                          prepare list of questions for
                                          Fidelity regarding
                                          miscellaneous issues (.3);
                                          telephone conference with
                                          Fidelity regarding same (.4);
                                          telephone conference with
                                          participant Redacted regarding
                                          rollover form TSP-60 (.2);
                                          initial review of Redacted
                                          form (.3); request additional
                                          information from Redacted
                                          and review response (.2);
                                          prepare email to R. Ocheltree
                                          regarding Millennium Trust
                                          issues (.2); continue preparing
                                          email to L. Tavenner
                                          regarding timing of plan
                                          termination (.5); review form
                                          TSP-60 instructions sent by
                                          Redacted (.2); prepare follow-
                                          up email to Redacted (.2);
                                          review and respond to
                                          question from L. Tavenner
                                          regarding TSP-60 (.3); attempt
                                          to reach contact at Millennium
                                          Trust and leave message (.2);
                                          prepare email to participant
                                          Redacted regarding form TSP-
                                          60 (.2); review and approve
                                          rollover form for Redacted
                                          (.2); prepare response to L.
                                          Tavenner (.1)
 11/22/2019   T P BROWN            221    Emails with M.Alexander re         0.10      88.30
                                          distribution from 401(k) plan
 11/24/2019   M W ALEXANDER        221    Review notices from PSW and        0.30     186.60
                                          related documents including
                                          loan feedback file and de
                                          minimis distribution report
                                          (.2); update notes (.1)
 11/25/2019   J G RITTER, II       221    Conference with Alexander          0.50     451.50
                                          regarding forfeitures, vesting
                                          requirements and plan
                                          expenses




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 11/25/2019   M W ALEXANDER        221    Review email from Redacted          2.00    1,244.00
                                          regarding rollover request (.1);
                                          telephone conference with
                                          Thrift Savings Plan regarding
                                          same (.1); prepare response to
                                          Redacted (.1); telephone
                                          conference with Fidelity
                                          regarding miscellaneous plan
                                          administration and termination
                                          issues (.6); research and
                                          analyze IRS guidance
                                          regarding vesting upon plan
                                          termination (.6); office
                                          conference with J. Ritter
                                          regarding same (.3); review
                                          PSW spreadsheets regarding
                                          cessation of contributions (.2)
 11/26/2019   M W ALEXANDER        221    Review notes and PSW                3.10    1,928.20
                                          reports in preparation for call
                                          regarding termination timing
                                          (.2); telephone conference
                                          with L. Tavenner and P. Beran
                                          regarding same and vesting
                                          issue (1.2); telephone
                                          conference with T. Brown
                                          summarizing issues discussed
                                          with L. Tavenner (.2); respond
                                          to Redacted regarding TSP-60
                                          (.1); telephone conference
                                          with Fidelity regarding
                                          termination delay and plan
                                          loans (.6); telephone
                                          conference with two
                                          participants regarding loan
                                          payoff issues (.5); send list of
                                          loan participants to R.
                                          Ocheltree and request contact
                                          information (.2); review reply
                                          (.1)
 11/26/2019   T P BROWN            221    Telephone call with                 0.50     441.50
                                          M.Alexander re 401(k) plan
                                          issues; emails with
                                          L.Tavenner re same




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 11/27/2019   M W ALEXANDER        221    Review plan loan contact            5.20    3,234.40
                                          information from R. Ocheltree
                                          (.2); prepare email to L.
                                          Tavenner regarding same and
                                          review reply (.2); telephone
                                          conference with Fidelity
                                          regarding Redacted rollover
                                          request (.3); review and reply
                                          to question from Redacted
                                          (.2); review and sign Redacted
                                          rollover form and post to
                                          Fidelity's PSW (.2); prepare
                                          emails to L. Tavenner and
                                          Redacted regarding same (.2);
                                          prepare email to R. Ocheltree
                                          regarding 2018 corrective
                                          distribution letter (.1); review
                                          and reply to email from S.
                                          Lenox regarding archived plan
                                          files (.1); work with IT
                                          department to download files
                                          (.2); review and complete
                                          Redacted TSP-60 form and
                                          forward to L. Tavenner (.3);
                                          review PSW accounts of ten
                                          participants with loan balances
                                          (.4); telephone conference
                                          with participants or leave
                                          messages regarding loan
                                          payoff issues (1.3); research
                                          401k audit firms online (.5);
                                          review and organize email
                                          correspondence relating to
                                          plan termination (.3); review
                                          Fidelity message regarding
                                          issue with Redacted rollover
                                          and conference with Fidelity
                                          regarding same (.4); telephone
                                          conference with participant
                                          Redacted regarding loan
                                          payoff (.3)
 11/29/2019   M W ALEXANDER        221    Telephone conference with           0.70     435.40
                                          Fidelity transition team
                                          regarding status of Redacted
                                          issue (.2); review PSW to
                                          confirm Redacted rollover
                                          completed (.1); telephone
                                          conference with Fidelity
                                          regarding loan payoff process
                                          (.2); prepare email to
                                          participant Redacted regarding
                                          same and review reply (.2)




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                       HOURS      VALUE
 12/02/2019   M W ALEXANDER        221    Miscellaneous work relating to     5.40    3,358.80
                                          prospective audit firms,
                                          including emails, telephone
                                          calls, and follow-up
                                          conference call with L.
                                          Tavenner, P. Beran, and T.
                                          Brown regarding plan audit
                                          and other termination issues
                                          (2.5); miscellaneous
                                          correspondence, PSW review,
                                          and conference calls regarding
                                          loan payoff and rollover issues
                                          (.9); telephone conference
                                          with Fidelity transition team
                                          regarding miscellaneous
                                          participant and termination
                                          issues (.8); review Millennium
                                          Trust rollover agreements (.6);
                                          telephone conference with
                                          Millennium Trust regarding
                                          same and upcoming cashouts
                                          (.4); review emails and
                                          attachments relating to Elliott
                                          Davis invoices (.2)
 12/03/2019   M W ALEXANDER        221    Miscellaneous email and            4.80    2,985.60
                                          telephone calls relating to
                                          potential audit firms (.7);
                                          miscellaneous review,
                                          analysis, and correspondence
                                          relating to participant loan
                                          payoff issues (1.3);
                                          miscellaneous work relating to
                                          identification of expenses paid
                                          by plan to Elliott Davis and
                                          other plan expenses (.7);
                                          review files to locate Elliott
                                          Davis engagement and
                                          withdrawal letters, and
                                          forward to L. Tavenner (.2);
                                          miscellaneous work with
                                          Millennium Trust regarding
                                          rollovers and annuity contracts
                                          (.7); review and respond to
                                          emails regarding Redacted
                                          rollover, review Redacted
                                          account, and prepare
                                          responses (.5); search for
                                          participant Redacted regarding
                                          benefit rollover, and leave
                                          message with current
                                          employer (.4); generate and
                                          review report in PSW of
                                          remaining participants with
                                          money purchase assets (.3)

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 12/03/2019   T P BROWN            221    Review emails from and to            0.20     176.60
                                          M.Alexander re strategy and
                                          re audit fee payments and
                                          potential new auditor
 12/04/2019   M W ALEXANDER        221    Telephone conference with            3.20    1,990.40
                                          Fidelity regarding Millennium
                                          Trust rollover spreadsheet (.2);
                                          review emails between
                                          Fidelity and Millennium Trust
                                          regarding annuity rollovers
                                          (.2); review plan document
                                          regarding treatment of money
                                          purchase plan assets (.3);
                                          review PSW Form 5500 filing
                                          procedures (.4); telephone
                                          conference with Fidelity
                                          representative regarding same
                                          (.3); assist four participants in
                                          resolving plan loan issues (.8);
                                          provide directions to Fidelity
                                          regarding same (.3); telephone
                                          conference with prospective
                                          plan auditor (.1); review and
                                          analyze Elliott Davis plan
                                          audit engagement and
                                          withdrawal letters (.5); office
                                          conference with J. Ritter
                                          regarding same (.1)
 12/04/2019   J G RITTER, II       221    Conference with Alexander            0.50     451.50
                                          regarding 5500 audit and
                                          demand letter to Elliott Davis
 12/05/2019   T P BROWN            221    Conference with M.Alexander          0.30     264.90
                                          re demand letter and 401(k)
                                          termination issues




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 12/05/2019   M W ALEXANDER        221    Review email from Redacted          5.80    3,607.60
                                          regarding loan issues, review
                                          PSW account regarding same,
                                          and prepare response to
                                          Redacted (.6); provide update
                                          to L. Tavenner regarding
                                          exclusion of loan participants
                                          from cashouts (.4); telephone
                                          conference with Fidelity
                                          regarding same (.2); review
                                          and respond to questions from
                                          prospective plan auditor, A.
                                          Boyles of YHB (.3); review
                                          responses from L. Tavenner
                                          regarding call with Keiter and
                                          send email to Keiter regarding
                                          same (.2); prepare initial
                                          outline and initial draft of
                                          demand letter to Elliott Davis
                                          (2.2); prepare email to R.
                                          Ocheltree regarding Elliott
                                          Davis facts, and review reply
                                          (.3); telephone conferences
                                          with participants regarding
                                          loan issues and review related
                                          PSW accounts and emails
                                          (1.0); review second TSP
                                          rollover form, send form to
                                          Lynn, and reply to participant
                                          (.3); telephone conference
                                          with T. Brown regarding
                                          miscellaneous plan
                                          termination and audit issues
                                          (.3)
 12/06/2019   T P BROWN            221    Work on demand letter to            0.40     353.20
                                          prior auditor re audit and
                                          related email to Tavenner &
                                          Beran
 12/06/2019   M W ALEXANDER        221    Review PSW for status of            0.90     559.80
                                          forceout to Millennium Trust
                                          (.1); review and respond to
                                          request from R. Ocheltree to
                                          exclude Redacted from
                                          forceout (.2); provide direction
                                          to Fidelity regarding same,
                                          and review responses (.2);
                                          review and reply to L.
                                          Tavenner emails regarding
                                          TSP rollover form and Keiter
                                          conference call (.3); notify B.
                                          DeFazio regarding conference
                                          call with Keiter (.1)



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 DATE         TIMEKEEPER           TASK   DESCRIPTION                         HOURS      VALUE
 12/07/2019   M W ALEXANDER        221    Review PSW to confirm                0.10      62.20
                                          Fidelity executed forceout of
                                          assets to Millennium Trust
 12/09/2019   T P BROWN            221    Emails with M.Alexander re           0.10      88.30
                                          audit issues
 12/09/2019   M W ALEXANDER        221    Review notes and                     2.60    1,617.20
                                          correspondence regarding
                                          vesting claim from former
                                          participant Redacted (.2);
                                          review plan document and
                                          SPD regarding claims
                                          procedures and
                                          vesting/forfeiture provisions
                                          (.4); begin preparing first draft
                                          of claim denial letter to
                                          Redacted (.3); initial review of
                                          questions from prospective
                                          auditor T. Healy (of PBMares)
                                          (.2); telephone conference
                                          with T. Healy regarding same
                                          (.6); telephone conference
                                          with Keiter auditors, L.
                                          Tavenner, P. Beran and B.
                                          DeFazio regarding plan audits
                                          (.5); follow-up discussion with
                                          L. Tavenner and P. Beran
                                          regarding same (.2); prepare
                                          email to T. Brown regarding
                                          same (.1); forward signed TSP
                                          rollover form to Redacted (.1)




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 12/10/2019   M W ALEXANDER        221    Telephone conference with           2.90    1,803.80
                                          Redacted regarding loan and
                                          review related PSW account
                                          (.2); review and respond to
                                          follow-up email from Keiter
                                          regarding plan audit (.2);
                                          telephone conference with
                                          prospective auditor A. Boyles
                                          (of YHB) (.3); telephone
                                          conference with Fidelity
                                          regarding audit issues and
                                          prepare related service request
                                          (.5); finalize responses to
                                          Redacted audit questions and
                                          forward to L. Tavenner for
                                          review (.7); begin preparing
                                          draft response letter to DOL
                                          regarding 5500 (.3); telephone
                                          conference with L. Tavenner,
                                          P. Beran, and T. Brown
                                          regarding request for
                                          information from Elliott Davis
                                          (.3); further review and
                                          analyze Elliott Davis
                                          engagement and withdrawal
                                          letters regarding return of plan
                                          information (.4)
 12/10/2019   T P BROWN            221    Prepare for and participate in      0.30     264.90
                                          call with L.Tavenner, P.Beran
                                          and M.Alexander
 12/11/2019   M W ALEXANDER        221    Review PSW relating to loan         5.20    3,234.40
                                          default for participant
                                          Redacted (.2); two telephone
                                          conferences with Redacted
                                          regarding loan issue (.3); two
                                          conference calls with Fidelity
                                          regarding same (.5); prepare
                                          service request to Fidelity
                                          requesting correction of
                                          Redacted loan issue (.3);
                                          research and analyze DOL
                                          guidance and legal treatises
                                          regarding late 5500s,
                                          penalties, correction
                                          procedures, and related issues
                                          (1.9); continue preparing draft
                                          response letter to the DOL
                                          (2.0)




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                       HOURS      VALUE
 12/12/2019   M W ALEXANDER        221    Continue reviewing and             3.40    2,114.80
                                          revising 5500 response letter
                                          to DOL (.5); office conference
                                          with J. Ritter regarding same
                                          (.2); request and review
                                          comments from T. Brown
                                          regarding letter to DOL (.2);
                                          revise letter accordingly (.5);
                                          finalize letter and send to L.
                                          Tavenner for review and
                                          provide instructions regarding
                                          same (.4); check PSW
                                          regarding Redacted loan (.1);
                                          review related email and
                                          attachment from Redacted and
                                          upload to PSW (.2); email B.
                                          DeFazio regarding Elliott
                                          Davis call and review reply
                                          (.2); telephone conference
                                          with IT department regarding
                                          LeClairRyan documents (.2);
                                          two telephone conferences
                                          with participant Redacted
                                          regarding loan (.2); three
                                          telephone conferences (with
                                          R. Ocheltree, B. DeFazio and
                                          Keiter auditor) relating to
                                          documents needed for audit
                                          and related issues (.7)




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                       HOURS      VALUE
 12/13/2019   M W ALEXANDER        221    Review PSW for status of loan      2.00    1,244.00
                                          payoffs and service request for
                                          Redacted (.1); review and
                                          respond to B. DeFazio
                                          regarding access to 2018 audit
                                          documents (.2); two telephone
                                          conferences with B. DeFazio
                                          regarding information for
                                          2018 audit (.2); review and
                                          analyze screen shot showing
                                          all audit documents (.3);
                                          review email from B. DeFazio
                                          to Keiter regarding audit
                                          support documents (.1);
                                          prepare email to T. Brown
                                          regarding same in relation to
                                          demand letter and review
                                          response (.3); send follow-up
                                          clarification email to Keiter
                                          regarding audit documents
                                          (.2); review and analyze audit
                                          bid estimate from Keiter,
                                          prepare email to T. Brown
                                          regarding same, and review
                                          reply (.4); prepare email to L.
                                          Tavenner regarding Keiter's
                                          bid (.2)
 12/13/2019   T P BROWN            221    Emails with M.Alexander re         0.20     176.60
                                          ED audit letter and bid from
                                          Keiter
 12/19/2019   M W ALEXANDER        221    Review message from                0.90     559.80
                                          Redacted regarding loan issue,
                                          review PSW account
                                          regarding same, and leave
                                          voice message with Redacted
                                          (.4); prepare email to Redacted
                                          regarding loan payoff issue
                                          (.1); prepare email to T.
                                          Brown regarding status of
                                          response to prospective audit
                                          firm, and review response (.2);
                                          prepare email to L. Tavenner
                                          regarding same (.2)
 12/19/2019   T P BROWN            221    Emails with M. Alexander re        0.20     176.60
                                          bids for 401(k) audits




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS     VALUE
 12/26/2019   M W ALEXANDER        221    Continue preparing draft claim      1.60     995.20
                                          denial letter to participant
                                          Redacted relating to forfeited
                                          benefit (1.0); further review
                                          DOL claims rules and plan
                                          provisions regarding same
                                          (.2); review and finalize letter
                                          to Redacted and send to L.
                                          Tavenner with email
                                          explaining same (.3); review
                                          Fidelity PSW regarding status
                                          of loan payoffs (.1)
 12/26/2019   T P BROWN            221    Review draft letter to deny         0.20     176.60
                                          vesting of 401(k) benefits
 12/27/2019   T P BROWN            221    Review emails from and to M.        0.20     176.60
                                          Alexander re denial of vesting
                                          for 401(k) benefits
 12/27/2019   M W ALEXANDER        221    Review revisions and                1.00     622.00
                                          questions from L. Tavenner
                                          regarding claim denial letter
                                          (.2); prepare response to L.
                                          Tavenner regarding same (.2);
                                          finalize letter and send to L.
                                          Tavenner (.1); prepare emails
                                          to participants Redacted
                                          regarding rollover of 401k
                                          balances (.3); telephone
                                          conference with Fidelity
                                          regarding same and related
                                          issues (.2)
 12/30/2019   M W ALEXANDER        221    Work with Fidelity to ensure        1.00     622.00
                                          final rollovers of remaining
                                          accounts and related issues
                                          (.5); review and reply to
                                          emails from participant
                                          Redacted regarding same (.2);
                                          review Redacted rollover
                                          form, sign form, and post to
                                          PSW (.3)
 12/31/2019   T P BROWN            221    Review emails from and to M.        0.20     176.60
                                          Alexander re 401(k)
                                          termination and forfeiture
                                          account and consider related
                                          strategy




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 12/31/2019   M W ALEXANDER        221    Check Fidelity's PSW to             0.50     311.00
                                          confirm participant count
                                          reduced to zero (.1); review
                                          PSW summary of remaining
                                          assets (.1); telephone
                                          conference with Fidelity
                                          regarding same (.2); provide
                                          plan termination status update
                                          to L. Tavenner (.1)
 01/01/2020   M W ALEXANDER        221    Review and analyze Fidelity         0.50     311.00
                                          administrative services
                                          agreement regarding revenue
                                          sharing credits (.3); prepare
                                          email to Fidelity with follow-
                                          up questions regarding same
                                          (.1); preliminary review of two
                                          invoices posted in PSW (.1)
 01/02/2020   M W ALEXANDER        221    Telephone conference with           0.60     373.20
                                          Fidelity regarding status of
                                          any future revenue sharing
                                          credits (.2); further review and
                                          analyze latest two invoices
                                          posted in Fidelity PSW (.4)
 01/06/2020   M W ALEXANDER        221    Review and analyze annual           1.70    1,057.40
                                          audit report for Fidelity
                                          "investment strategy tool" (.2);
                                          research 401k audit
                                          requirements for computer-
                                          generated advice (.2); prepare
                                          email to L. Tavenner
                                          summarizing conclusions (.1);
                                          prepare email to R. Ocheltree
                                          regarding PSW user access
                                          list, and review reply (.3);
                                          prepare email to L. Tavenner
                                          regarding PSW user access list
                                          and requesting directions (.5);
                                          review response from L.
                                          Tavenner and revise access list
                                          accordingly (.3); telephone
                                          conference with Fidelity
                                          regarding same (.1)
 01/07/2020   T P BROWN            221    Conference with M.Alexander         0.20     176.60
                                          re auditor engagement




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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 01/10/2020   M W ALEXANDER        221    Review email correspondence         2.80    1,741.60
                                          between L. Tavenner and
                                          Keiter regarding 401k audit
                                          (.2); at request of L. Tavenner,
                                          review and analyze Keiter's
                                          draft engagement letter (.8);
                                          research and analyze ERISA
                                          and DOL guidance regarding
                                          plan audit requirements (.3);
                                          review prior audit reports for
                                          LR 401k plan (.2); prepare
                                          email to T. Brown regarding
                                          auditor's hourly rates and
                                          review response (.3); prepare
                                          proposed revisions to
                                          engagement letter (.5); prepare
                                          email to L. Tavenner attaching
                                          proposed revisions and
                                          summarizing same (.5)
 01/10/2020   T P BROWN            221    Emails with M.Alexander re          0.50     441.50
                                          engagement letter issues for
                                          Keiter auditing of plan; emails
                                          with L.Tavenner and with
                                          D.Jones re NYS tax filing
 01/13/2020   T P BROWN            221    Telephone call with                 0.30     264.90
                                          L.Tavenner and P.Beran re
                                          401(k) audit; email with
                                          L.Tavenner and P.Beran re
                                          end of attorney billing at LR
 01/15/2020   M W ALEXANDER        221    Review audit proposal from T.       0.30     186.60
                                          Healy of PBMares and related
                                          email (.2); respond to T. Healy
                                          and forward proposal to L.
                                          Tavenner (.1)
 01/17/2020   M W ALEXANDER        221    Review signed conflicts             0.50     311.00
                                          waiver; (.1); review request
                                          from L. Tavenner regarding
                                          Keiter engagement letter and
                                          waiver (.1); request
                                          clarification from L. Tavenner
                                          regarding same (.1); forward
                                          signed waiver and edits to
                                          engagement letter to Keiter
                                          with email summarizing same
                                          (.2)
 01/20/2020   M W ALEXANDER        221    Review emails from Keiter           0.50     311.00
                                          relating to revised 401k audit
                                          engagement letter (.1); review
                                          Keiter fee schedule (.1);
                                          review revised engagement
                                          letter (.2); prepare email to L.
                                          Tavenner regarding same (.1)

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 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 01/23/2020   M W ALEXANDER        221    Search correspondence and            1.10     684.20
                                          notes relevant to 2018
                                          correction of excess deferrals
                                          and review same (.6); research
                                          IRS guidance regarding return
                                          of ineligible IRA contributions
                                          (.3); begin reviewing IRS
                                          guidance regarding correction
                                          of 401k excess amounts and
                                          related issues (.2)
 01/24/2020   M W ALEXANDER        221    Review Keiter's request for          1.50     933.00
                                          audit access to Fidelity
                                          website (.1); prepare email to
                                          L. Tavenner regarding same
                                          and review response (.2);
                                          telephone conference with
                                          Fidelity regarding audit access
                                          and related issues (.5); request
                                          information from Keiter and
                                          review response (.2); review
                                          and complete Fidelity's user
                                          access form (.4); notify Keiter
                                          regarding same (.1)
                                          TOTAL 221                          108.70


                      CLAIMS ADMINISTRATION AND OBJECTIONS

 DATE         TIMEKEEPER           TASK   DESCRIPTION                        HOURS      VALUE
 12/06/2019   H P LONG, III        310    Analyze and respond to               0.80     497.60
                                          question from P. Beran
                                          concerning documents related
                                          to ULXP and ABL loans,
                                          including analyzing and
                                          providing all such documents
                                          to P. Beran
                                          TOTAL 310                            0.80




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